Case: 1:20-cv-00819 Document #:.1 Filed: 02/04/20 Page 1 of 8 PagelD #:1 iV

[If you need additional space for ANY section, please attach an additional sheet and reference that section.]

RECEIVED

UNITED STATES DISTRICT COURT ;
NORTHERN DISTRICT OF ILLINOIS FEB 04 202036

THOMAS G. BRUTON
CLERK, U.S. DISTRICT COURT

DosePl Gordon

 

 

 

1:20-cv-00819

(Enter above the full name

 

 

 

of the plaintiff or plaintiffs in Judge Martha M. Pacold
this action) Magistrate Judge Sidney |. Schenkier
PC 11
VS. Case No:
AT. (To be supplied by the Clerk of this Court)
SKokie Caminal Court )
hove

 

 

 

 

(Enter above the full name of ALL
defendants in this action. Do not

use "et al.")
CHECK ONE ONLY: |

% COMPLAINT UNDER THE CIVIL RIGHTS ACT, TITLE 42 SECTION 1983
U.S. Code (state, county, or municipal defendants)

COMPLAINT UNDER THE CONSTITUTION ("BIVENS" ACTION), TITLE
28 SECTION 1331 U.S. Code (federal defendants)

OTHER (cite statute, if known)

 

BEFORE FILLING OUT THIS COMPLAINT, PLEASE REFER TO "INSTRUCTIONS FOR
FILING." FOLLOW THESE INSTRUCTIONS CAREFULLY.

[If you need additional space for ANY section, please attach an additional sheet and reference that section.]
II.

Case: 1:20-cv-00819 Document #: 1 Filed: 02/04/20 Page 2 of 8 PagelD #:1

[If you need additional space for ANY section, please attach an additional sheet and reference that section.]

Plaintiff(s):

A.

B.

C.

D.

EF.

Name: J0Se Zh Gordo nN

List all aliases:

 

. ae INIEZIDUAD eT
Prisoner identification number: oO | D | AQUU LS |

Place of present confinement: C C DO C

Address: Ww cad Cahtornia

(If there is more than one plaintiff, then each plaintiff must list his or her name, aliases, I.D.
number, place of confinement, and current address according to the above format on a
separate sheet of paper.)

Defendant(s):

(In A below, place the full name of the first defendant in the first blank, his or her official
position in the second blank, and his or her place of employment in the third blank. Space
for two additional defendants is provided in B and C.)

A.

Ob » mit
Defendant: OKoKie Of cers

 

Title: orrection al Of f cer §

Place of Employment: Skokie Camin al Court buildin

 

Defendant:

Title:

 

 

Place of Employment:

Defendant:

 

Title:

 

Place of Employment:

 

(If you have more than three defendants, then all additional defendants must be listed
according to the above format on a separate sheet of paper.)

2 Revised 9/2007

[If you need additional space for ANY section, please attach an additional sheet and reference that section.]
Case: 1:20-cv-00819 Document #: 1 Filed: 02/04/20 Page 3 of 8 PagelD #:1

[If you need additional space for ANY section, please attach an additional sheet and reference that section.]

court in the United States:

A. Name of case and docket number:

 

 

B. Approximate date of filing lawsuit:

 

C. List all plaintiffs (if you had co-plaintiffs), including any aliases:

 

 

 

D. List all defendants:

 

 

 

 

E. Court in which the lawsuit was filed (if federal court, name the district; if state court,
name the county):

 

 

 

3
II. List ALL lawsuits you (and your co-plaintiffs, if any) have filed in any state or federal

 

 

 

 

 

 

F, Name of judge to whom case was assigned:

G. Basic claim made:

Hi Disposition of this case (for example: Was the case dismissed? Was it appealed?
Is it still pending?):

I Approximate date of disposition:

 

IF YOU HAVE FILED MORE THAN ONE LAWSUIT, THEN YOU MUST DESCRIBE THE
ADDITIONAL LAWSUITS ON ANOTHER PIECE OF PAPER, USING THIS SAME
FORMAT. REGARDLESS OF HOW MANY CASES YOU HAVE PREVIOUSLY FILED,
YOU WILL NOT BE EXCUSED FROM FILLING OUT THIS SECTION COMPLETELY,
AND FAILURE TO DO SO MAY RESULT IN DISMISSAL OF YOUR CASE. CO-
PLAINTIFFS MUST ALSO LIST ALL CASES THEY HAVE FILED.

3 Revised 9/2007

[If you need additional space for ANY section, please attach an additional sheet and reference that section.]
 

Case: 1:20-cv-00819 Document #: 1 Filed: 02/04/20 Page 4 of 8 PagelD #:1

[If you need additional space for ANY section, please attach an additional sheet and reference that section.]

IV. Statement of Claim:
State here as briefly as possible the facts of your case. Describe how each defendant is
involved, including names, dates, and places. Do not give any legal arguments or cite any
cases or statutes. If you intend to allege a number of related claims, number and set forth

each claim in a separate paragraph. (Use as much space as you need. Attach extra sheets
if necessary.)

On Dec. 3 ad19 Zhad Court, and F told the Staff at Skokie that
LE was being endangered by mmates and 16 Switth bull Pen bot they
refused wy request and Pot me _in there anyway. F Was a 2ereache d
by Hoo wmmates telling me thet they wanted my lunch = ref sed and ane
of then Ronched me_thals whwn fhe figl it Started for af bast Gmunvles
nhl q duard Showed ur Just t fo dro? f of andar mynalée Wf hé (age =
tned_}o Sel bis attenhon bot all he did was leave, thabs when they
Started _u? Gain for_anothy b wurutes, 2 did Not recieve medical
atkenhon unhl made it back to cook Comb thats when + went fo
Sto ger Hospital, 2 Soffer fom Gg broken nose and Several cuts in
my left eye which led fo temporary blindness and a Permanent black
rng, t did one week wn medical now wm bark in Podulehan. wating

on dlasies for my blurred vision.

 

 

 

 

 

4 Revised 9/2007

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Case: 1:20-cv-00819 Document #: 1 Filed: 02/04/20 Page 5 of 8 PagelD #:1

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5 Revised 9/2007

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Case: 1:20-cv-00819 Document #: 1 Filed: 02/04/20 Page 6 of 8 PagelD #:1

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Vv. Relief:

State briefly exactly what you want the court to do for you. Make no legal arguments. Cite
no cases or statutes.

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VI. ‘The plaintiff demands that the case be tried by a jury. oy YES O NO

CERTIFICATION

By signing this Complaint, I certify that the facts stated in this
Complaint are true to the best of my knowledge, information and
belief. I understand that if this certification is not correct, I may be
subject to sanctions by the Court.

Signed this 20 dayof Dec  ,20 19
Lo defi h 97 bs /\

 

(Signature of plaintiff or plaintiffs)

ac a Dl (
JosePh Gordon
(Print name)

2015- 1230057
(I.D. Number)

 

1343 Winthro?

 

 

(Address)

6 Revised 9/2007
[If you need additional space for ANY section, please attach an additional sheet and reference that section.]
 

 

Case: 1:20-cv-00819 Document #: 1 Filed: 02/04/20 Page 7 of 8 PagelD #:1

SA

Jo IePh Gordon

 
 

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Judge Martha M. Pacold
Magistrate Judge Sidney |. Schenkier
PC 11
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02/04/2020-8

 

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Case: 1:20-cv-00819 Document #: 1 Filed: 02/04/20 Page 8 of 8 PagelD #:1

 
